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                                                                                               RECEIVED
                                  UNITED STATES DISTRICT COURT                                      JAN2S2016F
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                                  THOMAS G. BRUTON
                                                                                             CLERK, U.S. DISTRICT COURT


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                                               , o\   e*



                      Plaintiff(s),                                       1:16+v-1470
                               vs.
                                                                          Judge Thomas M. Durkin
                                                                          Magistrate Judge Michael T. iilason
 \Nju'{-o,-^ Se"u,.*                  L..

                      Defendant(s).




             COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

This form complnint is designed to help !ou, as 4 pro se plainffi, state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you, All references
to ,,plaintiff' and "defendant" are stated in the singular but will upply to more than one
plaintiff or defendant if that is the nature of the case.

l.      This is a claim for violation of plaintiff         s   civil rights   as protected by the Constitution and


        laws of the United States under 42 U.S.C. $$ 1983, 1985, and 1986.

2.      The court has jurisdiction under 28 U.S.C. $$ 1343 and L367.

J.      Plaintiff s full name is


Ifthere are additionat ptaintffi, ftll in the above information as to the ft.rst-named                 plaintiff
and complete the information for each additional plaintiff on an extra sheet.
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4.     Defendant,                                                                                             ,is
                                                  (name, badge number   if known)

       E   an officer or   official employed by
                                                               (department or agency of government)



       tr an individual       not employed by a governmental entity.

If there are additional defendants, fill in the above information as to the first'named
ilefendant and complete the information for each additional defendant on an extra sheet.

5.     The municipality, township or county under whose authority defendant officer or official

       acted is                                                                       . As to plaintiff s federal

       constitutional claims, the municipality, township or county is a defendant only                if

       custom or policy allegations are made at paragraph 7 below.

6.     On or about                                    at approximately                            E a.m. D p.-.
                              (month,day, year)
       plaintiff was present in the municipality (or unincorporated area) of

                                                               , in the County of

       State of   Illinois,   at
                                       (identify location as precisely as possible)


       when defendant violated plaintiff s civil rights as follows (Place X in each box that
       applies):

        D         arrested or seized plaintiff without probable cause to believe that plaintiff had
                  committed, was committing or was about to commit a crime;
        n         searched plaintiff or his property without a warrant and without reasonable cause;
        tr        used excessive force upon plaintiff;
        n         failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
                  one or more other defendants;
        tr        failed to provide plaintiff with needed medical care;
        tr        conspired together to violate one or more of plaintiff s civil rights;
        tr        Other:
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7.     Defendant officer or official acted pursuant to a custom or policy of defendant

       municipality, county or township, which custom or policy is the following (Leave blank

       if no custom     or policy is alleged)z




8.     Plaintiff was charged with one or more crimes, specifically:




9.      (Place an X in the box that applies.      Ifnone applies, Joa m&J describe the criminal
       proceedings under        "Other')   The criminal proceedings

        tr   are   still pending.

        n    were terminated in favor of    plaintiff in a manner indicating plaintiff was innocent.l

        !    Plaintiff was found guilty of one or more charges because defendant deprived me of              a


        fair trial as follows



        !    Other:



        lExamples
                    of termination in favor of the ptaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi ordet.
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      10.     plaintiff further alleges as follows: (Describe what happened that you believe
       supports your claims. To the extent possible, be specific as to your own action's
                                                                                         and
      the actions of each defendant.)




11.    Defendant acted knowingly, intentionally,         willfully   and maliciously.


12.    As a result of defendant's conduct, plaintiff was injured as follows:



                                                                        CC)   tLC{-




13.     Plaintiff asks that the case be tried by   a   jury.   E Yes            ENo
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14.    Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such

       as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,


       and/or any other claim that may be supported by the allegations of this complaint.




       WHEREFORE, plaintiff            asks   for the following relief:

       A.        Damages to compensate for          allbodily harm, emotional harm, pain       and suffering,


                 loss of income, loss of enjoyment of life, property damage and any other injuries

                 inflicted by defendant;

        B.        Z     (Place X in box if you are seeking punitive damages) Punitive damages

                  against the individual defendant; and

        C.        Such injunctive, declaratory, or other relief as may be appropriate, including

attorney's fees and reasonable expenses as authorized by 42 U.S.C. $ 1988.

        Plaintifl- s signature:

        Plaintiff s name (print clearly or type):          .[o   a".,^i        .       -il-*."S.&a
        Plaintiff   s   mailing address:    i."{o,tt S,          [Ai,\(n,"' Lcio'*-
        city t re**o.,          J.
                                                                                                (rcqUE

                                              13ia; bla *
                                                                      -7
        Plaintiff   s telephone number:                          t3        |


        Plaintiff   s   email address (if you prefer to be contacted by email):




15.    Plaintiff has previously filed      a case   in this district. tr Yes       F   No

       If   yes, please list the cases below.



Any additional plaintffi must sign the complaint and provide the same information as the ilrst
plaintiff. An additional signature page may be.added.
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